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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF OKLAHOMA

DARREN LEE PRICE, Jr.,

                         Plaintiff,

vs.                                                  Case No. CIV-22-112-JFH-JAR

CORECIVIC, et. al,

                         Defendant.



                                   DEFENDANT’S ANSWER
                                 TO PLAINTIFF’S COMPLAINT.


         COMES NOW Defendant CoreCivic, Inc., by and through their attorney of record,

Darrell L. Moore, OBA #6332, submitting their Answer in opposition to the Plaintiff’s

Complaint filed herein on April 8, 2022 [Doc.#1]. Defendant has endeavored to directly address

every claim of the Plaintiff. However, to the extent any claim therein was not specifically

addressed, the same is strictly denied.

         Defendant’s Answer to Plaintiff’s Complaint is provided to the Court in the same

numerical sequence and style as presented by the Plaintiff, as follows:

(Complaint Page 1 of 9). No allegations requiring a response by Defendant are contained on

Page 1 of 9.

(Complaint Page 2 of 9).

I.       Jurisdiction:

         Admitted.

II.      Plaintiff Information:

         Admitted.



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III.   Prisoner Status:

        Admitted.

(Complaint Page 3 of 9).

IV.    Defendant(s) Information:

       Defendant 1: CoreCivic Davis Correctional Facility/Warden Mark Gentry.

       Defendant CoreCivic acknowledges service having been accomplished upon the

corporation, CoreCivic, Inc. CoreCivic, Inc., owns and operates the Davis Correctional Facility,

Holdenville, Oklahoma. Warden Mark Gentry was Warden, Davis Correctional Facility during

2021. Plaintiff has not served Defendant Gentry. Mark Gentry is no longer employed with

CoreCivic, Inc.

(Complaint Page 4 of 9).

       Page 4 of the Plaintiff’s Complaint does not contain any allegations requiring a response

by Defendant.

(Complaint Page 5 of 9).

V. Statement of Claims:

       A. Claim: Defendant CoreCivic acknowledges that a housing unit disturbance occurred

at Davis Correctional Facility on September 23, 2021. Defendant admits inmates housed on the

Echo Bravo housing unit were lighting materials on fire and throwing the on-fire materials out of

their cells into the housing unit dayroom.

       Defendant CoreCivic denies any and all of Plaintiff’s allegations that his rights were

violated by the Defendant. Defendant denies that they violated Plaintiff’s Eighth Amendment

rights or rights he held pursuant to the Fourteenth Amendment.




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       FACTS:

       Defendant CoreCivic denies the allegations as presented by the Plaintiff. Defendant

admits an incident did occur on the Echo Bravo housing unit on September 23, 2021. Inmates

were lighting materials on fire and tossing burning items into the housing unit dayroom.

Defendant CoreCivic denies that it violated the rights of the Plaintiff. Plaintiff was initially

identified as having been involved in the incident and was therefore removed from his assigned

cell without boxer shorts. That matter was almost immediately addressed, and Plaintiff was

provided boxer shorts.

(Complaint Page 6 of 9).

       Defendant CoreCivic denies the allegations as presented by the Plaintiff. Defendant

admits that an incident did occur on the Plaintiff’s assigned housing unit on September 23, 2021.

Inmates were lighting materials on fire and tossing burning items into the dayroom. Plaintiff was

initially identified as having been involved in the incident and was therefore removed from his

assigned cell without boxer shorts. That matter was almost immediately addressed, and Plaintiff

was provided boxer shorts.

Defendant CoreCivic denies that it violated the constitutional rights of the Plaintiff.

       Defendant acknowledges that Plaintiff Price submitted Grievance no. 2021-391 and

pursued the grievance through to conclusion.

(Complaint Page 7 of 9).

       Page 7 of the Plaintiff’s Complaint does not contain any allegations.

(Complaint Page 8 of 9).

VI. Relief Requested:




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        Defendant denies that Plaintiff is entitled to any relief, monetary or otherwise. Defendant

denies that Plaintiff is entitled to an award of damages, compensatory or otherwise. Defendant

denies that the Plaintiff is entitled to any type of relief.

VII: Prisoner’s Litigation History.

        No allegations requiring a response from Defendant are made by Plaintiff in this section.

Defendant is not aware of any strikes that may have been previously placed against the Plaintiff

by the Courts.

(Complaint Page 9 of 9).

VIII: Plaintiff’s Declarations:

        Page 9 of the Plaintiff’s Complaint consists of his declarations that his testimony is true

and correct, and his signature dated April 4, 2022. No allegations requiring a response from

Defendant are made by Plaintiff in this section.

                          DEFENDANT’S AFFIRMATIVE DEFENSES

        As separate affirmative defenses to the averments contained in the Plaintiff’s Complaint,

these answering Defendant states as follows:

        1.       As a separate and alternative affirmative defense, Defendant alleges Plaintiff has

not stated a basis for any award of compensatory, exemplary, or punitive damages.

        2.       As a separate and alternative affirmative defense, Defendant alleges Plaintiff has

failed to state a claim or claims upon which relief could be granted. Plaintiff has made no claim of

him having suffered an actual physical injury. His Complaint is devoid of any allegation of him

having suffered any physical harm. If his claim is solely one alleging emotional distress, as early

as Perkins v. Kansas Dept. of Corrections, 165 F.3d 803 (10th Cir. 1998), the Court stated that

although "mental and emotional distress can constitute a compensable injury in suits for damages




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under 42 U.S.C. § 1983 based upon violations of constitutional rights, 42 § 1997e(e) provides that

such a suit cannot stand unless the plaintiff has suffered a physical injury in addition to mental or

emotional harms." Id. at 807. Because Plaintiff has made no claim or claims of having suffered a

physical injury, Plaintiff’s Eighth Amendment constitutional claim should be dismissed. As

regards the Fourteenth Amendment claim by Plaintiff, the prison facility’s response to an emergent

situation within a maximum-security inmate housing unit on September 23, 2021 where some

inmates were throwing on-fire materials out of their cells did not present a type of atypical,

significant deprivation and instead was within the range of confinement to be normally expected

for one serving an indeterminate term of life without parole as is Mr. Price. See Sandin v. Conner,

515 U.S. 472, 487 (1995). Plaintiff’s Fourteenth Amendment constitutional claim should be

dismissed.

       4.      As a separate and alternative affirmative defense, Defendant alleges that insofar as

Plaintiff may have attempted to assert a state law based civil claim or tort claim, the same is barred

in that he did not first comply with the requirements of 57 O.S. §566.4(B)(2). The Oklahoma

Legislature has specifically stated that no tort action or civil claim may be filed against any

employee, agent, or servant of the state, the Department of Corrections, private correctional

company, or any county jail or any city jail alleging acts related to the duties of the employee,

agent, or servant, until all of the notice provisions of the Governmental Tort Claims Act [51 O.S.

§151 et seq.] have been fully complied with by the claimant. This requirement shall apply to any

claim against an employee of the state, the Department of Corrections, or to any county jail or city

jail in either their official or individual capacity, and to any claim against a private correctional

contractor and its employees for actions taken pursuant to or in connection with a governmental

contract.




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       5.      As a separate and alternative affirmative defense, Defendant alleges that Plaintiff

failed to exhaust administrative remedies as to all the claims he has brought forward to the

District Court as required by the Prison Litigation Reform Act and Oklahoma law. See 42

U.S.C. § 1997e(a) and 57 O.S. §§ 564, 566(A)(1), 566.3(G)(2), 566.5.

       6.      As a separate and alternative affirmative defense, Defendant alleges that at all times

material to the Complaint they acted in good faith and in a reasonable manner.

       7.      As a separate and alternative affirmative defense, Defendant states that they intend

to rely upon other defenses as may become apparent or available during discovery proceedings or

which may be raised by separate motion as permitted by the Rules of Civil Procedure.

                                           CONCLUSION

       WHEREFORE, Defendant respectfully pray the Court enter its order of judgment in favor

of Defendant and against the Plaintiff; that the Court dismiss the Plaintiff’s allegations as set forth

above; that the Plaintiff take nothing by way of his petition herein; and, that the Defendant be

awarded their attorney fees and costs for defense of this action and receive any and all other

appropriate relief.


                                                   Respectfully submitted,
                                                   Defendant CoreCivic



                                                   By:
                                                   DARRELL L. MOORE, OBA 6332
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                                                   Pryor, OK 74362
                                                   (918) 825-0332
                                                   (918) 825-7730 fax
                                                   Attorney for Defendant




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                                      Certificate of Service


 I hereby certify that on August 19, 2022, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following
ECF registrants:


 I hereby certify that on August 19, 2022, I served the attached document by regular US Mail
on the following, who are not registered participants of the ECF System:



Darren Price, DOC# 621929
Davis Correctional Facility
6888 E. 133rd Rd
Holdenville, OK 74848




                                              DARRELL L. MOORE




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